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     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A. Polster
     6    ALL CASES                   )
                                      )
     7
     8
     9
                                       __ __ __
    10
                     Thursday, February 14, 2019
    11                        __ __ __
    12        HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                       CONFIDENTIALITY REVIEW
    13                        __ __ __
    14
    15
    16
    17            Videotaped Deposition of BILL BRANDT,
            held at Locke Lord LLP, 2200 Ross Avenue,
    18      Suite 2800, Dallas, Texas, commencing at
            9:07 a.m., on the above date, before
    19      Michael E. Miller, Fellow of the Academy of
            Professional Reporters, Registered Diplomate
    20      Reporter, Certified Realtime Reporter and
            Notary Public.
    21
    22
                                       __ __ __
    23
    24                  GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | fax 917.591.5672
    25                       deps@golkow.com

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    20              Q.        Okay.
    21              A.        Uh-huh.
    22              Q.        Do you have an understanding of
    23      what the reference to Masters is?
    24              A.        It was a decision.          It was a
    25      court case.

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     1              Q.        A court decision, right?
     2              A.        A court decision, that's right.
     3              Q.        Regarding the reporting of
     4      suspicious orders of controlled substances,
     5      correct?
     6              A.        That's my understanding, yes.




    12              Q.        Did you have any discussions
    13      with Mr. Abreu about the Masters decision
    14      around that time, June of 2018?
    15              A.        I'm sure we did, yeah.            I'm
    16      sure we had discussions.
    17              Q.        Why?     Why are you sure that you
    18      had discussions?
    19              A.        It was a relevant -- it was a
    20      relevant change and, yeah, I remember
    21      discussions with Shaun and with Jim and
    22      regulatory to try to figure out how we were
    23      going to comply and do what we needed to do.




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    25              Q.        Is it your understanding that

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     1      prior to October 2017, Henry Schein was not
     2      reporting orders when discovered --
     3      suspicious orders when discovered to the DEA?
     4                        MR. JONES:       Object to the form.
     5              A.        Yeah, I don't know the exact
     6      date that we changed, but we did change.                   I
     7      just don't know the date that we formally
     8      did -- made that change.
     9      BY MR. ACKERMAN:
    10              Q.        Would Shaun Abreu have been
    11      more knowledgeable about the date that
    12      Henry Schein made that change?
    13              A.        Yes, I'm sure he would be.
    14              Q.        So if in October 2017, Shaun
    15      Abreu writes we should start reporting orders
    16      when discovered as a result, does that
    17      indicate to you that at that time,
    18      Henry Schein was not reporting suspicious
    19      orders when discovered to the DEA?
    20              A.        I guess --
    21                        MR. JONES:       Object to form.
    22              A.        I don't know.        I don't know if
    23      we were or not at that time.
    24      BY MR. ACKERMAN:
    25              Q.        Okay.

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     1              A.        Yeah.
     2              Q.        Sitting here today do you know
     3      when Henry Schein reports suspicious orders
     4      to the DEA?
     5              A.        When we do?
     6              Q.        Yes.
     7              A.        Yes.
     8              Q.        When?
     9              A.        When it pends, when the order
    10      pends prior to us doing our due diligence.
    11              Q.        And how is it that you were
    12      aware of the procedure now?              How did you
    13      become aware of that procedure?
    14              A.        Because it required additional
    15      resource and just working with Shaun and
    16      regulatory to make sure that we were in
    17      compliance with the Masters ruling.
    18              Q.        How did it require additional
    19      resource?
    20              A.        Just more people for the
    21      letters.      We have to generate letters and
    22      mail them to the local offices, I believe,
    23      now.
    24              Q.        So were you involved in -- I
    25      assume it's hiring more people or bringing

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     1      more people on to the verifications
     2      department for that process?
     3              A.        I was -- yeah, I probably
     4      worked with Shaun to figure out how we were
     5      going to do that.
     6              Q.        And in what time frame did that
     7      effort occur?
     8              A.        It looks probably 2017
     9      sometime.      Again, I don't know the exact
    10      date.




    16              Q.        How many more people did the
    17      verification department add in order to
    18      effect this change in the manner in which
    19      Henry Schein was reporting suspicious orders
    20      to the DEA?
    21              A.        I don't remember exactly what
    22      we did.      I don't remember if we brought
    23      somebody new or if we changed a role of an
    24      existing person that -- it may have been
    25      something to do with that, yeah.                And I know

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     1                       CERTIFICATE
     2                 I, MICHAEL E. MILLER, Fellow of
            the Academy of Professional Reporters,
     3      Registered Diplomate Reporter, Certified
            Realtime Reporter, Certified Court Reporter
     4      and Notary Public, do hereby certify that
            prior to the commencement of the examination,
     5      BILL BRANDT was duly sworn by me to testify
            to the truth, the whole truth and nothing but
     6      the truth.
     7                 I DO FURTHER CERTIFY that the
            foregoing is a verbatim transcript of the
     8      testimony as taken stenographically by and
            before me at the time, place and on the date
     9      hereinbefore set forth, to the best of my
            ability.
    10
                       I DO FURTHER CERTIFY that pursuant
    11      to FRCP Rule 30, signature of the witness was
            requested by the witness or other party
    12      before the conclusion of the deposition.
    13                 I DO FURTHER CERTIFY that I am
            neither a relative nor employee nor attorney
    14      nor counsel of any of the parties to this
            action, and that I am neither a relative nor
    15      employee of such attorney or counsel, and
            that I am not financially interested in the
    16      action.
    17
    18      __________________________________
            MICHAEL E. MILLER, FAPR, RDR, CRR
    19      Fellow of the Academy of Professional Reporters
            NCRA Registered Diplomate Reporter
    20      NCRA Certified Realtime Reporter
            Certified Court Reporter
    21
            Notary Public in and for the
    22      State of Texas
            My Commission Expires: 7/9/2020
    23
            Dated: 19th day of February, 2019
    24
    25

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